Edgar B. LeFevre instituted a chancery suit in the Circuit Court of Berkeley County against Hallie M. LeFevre and others, on July 17, 1940, and on the same date filed his affidavit in support of an order of attachment against defendant, Hallie M. LeFevre, designating the Aetna Casualty  Surety Company and Hugh S. Byrer as garnishees. Assigned in the affidavit as the sole ground for attachment and garnishment was the non-residence of Hallie M. LeFevre. An answer was filed denying the existence of the ground assigned, and, under the provisions of Code, 38-7-33, a jury trial was had on the issue thus raised. After all the evidence had been introduced, the trial court stated that "There is no substantial conflict in the evidence which the jury would have to determine in this case", and, proceeding to determine the legal questions as to the non-residence of Hallie M. LeFevre presented by the evidence, directed the jury to find for the plaintiff. From that action of the trial court, as evidenced by the decree thereupon entered finding that "Hallie M. LeFevre was a non-resident of the State of West Virginia *Page 107 
at the time of the attachment herein issued", defendant appeals.
Hallie M. LeFevre came to this State in 1913, when she married O. B. LeFevre, the father of plaintiff, Dr. E. B. LeFevre. They resided at Bunker Hill in Berkeley County. Mr. LeFevre died in 1927, and defendant continued to live at the home farm until 1935, when the devisee of the property required her to vacate. She went from there to the residence of Mr. and Mrs. Robert Lemen, about one mile from Bunker Hill, where she lived for one winter. Mrs. Lemen testified that when Mrs. LeFevre came to her home, she asked to rent a room but that they allowed Mrs. LeFevre to make her home there without recompense. Some time in 1936 or 1937 the Lemens moved and rented their home, and some household furniture belonging to Mrs. LeFevre remained there until 1939 or 1940, when it was moved to a barn on the Drinker farm in Berkeley County, which had been assigned to her as dower. Since leaving the Lemen home, defendant has had no permanent place of abode, but has been the guest of relatives in Pennsylvania and Maryland, returning to this State for short visits with friends, as well as weekly or bi-weekly trips to Bunker Hill, for the day only. On such trips she would come to Bunker Hill by automobile bearing a Pennsylvania or Maryland license. Mrs. LeFevre was registered as a voter in Berkeley County in March, 1940, and voted in the primary election of May in that year. She testified that she has never had any intention of giving up her residence in West Virginia and that the only factor which prevented her from establishing a home in Berkeley County was a lack of funds; she states emphatically that her home is at Bunker Hill in Berkeley County. Tax receipts were produced showing that Mrs. LeFevre paid real property taxes in Berkeley County in the year 1939 and for the first half of 1940.
Defendant rented a room at 28 North Locust Street in Hagerstown, Maryland, from time to time, and it was there that attorneys interested in this litigation found her in the summer of 1940, about the time the attachment proceeding was instituted. Of this address, Mrs. LeFevre *Page 108 
stated, "I have access to that room when I need it." One of the attorneys, H. S. Byrer, stated that when he wrote her a letter, several copies would be made and mailed to Bunker Hill, Hagerstown, Greencastle, Pennsylvania, and another point in Maryland. Defendants' testimony indicates that, in all, there are about ten or eleven different residences where she frequently visits, including the homes of Katie Lemen, Mrs. Kent Miller and a Mrs. Flagg in Berkeley County.
It appears that on numerous occasions during the years 1938-1941, the Sheriff of Berkeley County has attempted to serve defendant with process in litigation pertaining to the settlement of her husband's estate and has never been able to do so. In this proceeding, the defendant was personally served on September 30, 1940, when she appeared at the sheriff's office with her attorney. Mrs. LeFevre was present during the taking of testimony before a commissioner in chancery in Berkeley County on thirty-five or forty different occasions in matters pertaining to the estate; for these hearings she came from Maryland, practically all of the time, with an attorney from Hagerstown. The commissioner, R. H. Boyd, testified that he communicated with her at Half Way, Maryland, or through the attorney in Hagerstown.
There is only one question presented by this record. Was Hallie M. LeFevre a non-resident of this State, as a matter of law within the meaning of the attachment statute, when the attachment was issued? Code, 38-7-2. Application of the statutory remedy by attachment, being in derogation of common-law, summary in its effect and liable to abuse and oppressive use, will be carefully guarded by the courts and confined strictly within the limits prescribed by the statute.DeLung v. Baer, 118 W. Va. 147, 189 S.E. 94; Delaplain v.Armstrong, 21 W. Va. 211.
This Court has held that a resident of the State may become a non-resident, within the meaning of the attachment statute, by leaving the State with the intention of changing his residence from within the State to residence *Page 109 
elsewhere. Lyon v. Vance, 46 W. Va. 781, 34 S.E. 761; Burt v.Allen, 48 W. Va. 154, 35 S.E. 990, 50 L.R.A. 284, 86 Am. St. Rep. 29; Banking and Trust Co. v. Swisher, 105 W. Va. 476,144 S.E. 294. Each case involving a question of non-residence under the attachment statute must be governed somewhat by its own particular facts. Banking and Trust Co. v. Swisher, supra;Keller v. Carr, 40 Minn. 428, 42 N.W. 292.
There is no doubt that Mrs. LeFevre was a resident of West Virginia during the lifetime of her husband and up until the time she left the Lemen home in 1936. It is true that she left this State and visited relatives in the States of Pennsylvania and Maryland, though the duration of such visits is not clear from the record. It is also true that she was living in Hagerstown, Maryland, about the time this proceeding was instituted, and that the Sheriff of Berkeley County was not able to serve her personally with process, until she appeared voluntarily at his office. These facts and the testimony relating to correspondence with her and her living in Maryland at the time of the hearings before the commissioner in chancery, all have some weight, but are not conclusive. On the other hand, she owned land situate in Berkeley County, her furniture was stored therein, she visited there from time to time and came there frequently to attend to matters pertaining to her property, and voted there. These facts, likewise, are not conclusive, but they do indicate that her absences from this State were temporary and tend to support her declared intention to establish a place of residence in this State. While her intention to retain her residence in West Virginia is not sufficient, without the support of the other facts stated herein, it does show the animus revertendi necessary for retaining residence within the meaning of the attachment statute. The duration of her absences is not controlling, as we view this question, as it has been held: "No precise or definite rule can be laid down as to the exact duration of the absence which will render a person a non-resident." Trust Co. v. Swisher, supra, quoting from Keller v. Carr, supra. Moreover, mere absence from the State, under the *Page 110 
rule hereinbefore stated, is not sufficient to place a former resident in the category of a non-resident. Lyon v. Vance,supra; Burt v. Allen, supra; Banking and Trust Co. v. Swisher,supra. There is no distinct showing that her absences from the State were such as to make her a nonresident, as a matter of law.
The burden of proof was upon the appellee to establish nonresidence in this case. Code, 38-7-33. We express no opinion as to whether he has sustained that burden, but we think the jury was entitled, under the state of this record, to draw its own inferences, under proper instructions, as to whether Mrs. LeFevre was a non-resident. Certainly we cannot say, under the decisions of this Court hereinbefore cited, that the record shows that she was a non-resident, as a matter of law. Therefore, we believe that the action of the trial chancellor in directing a verdict in favor of appellee was erroneous.
The ruling and decree of the trial chancellor are reversed and the cause remanded for proceedings consonant herewith.
Reversed and remanded.